                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                         Case No. 20-43027

MARCIA ANN SMITH-ROBINSON,                                     Chapter 13

               Debtor.                                         Judge Thomas J. Tucker

______________________________________/

                          ORDER GRANTING DEBTOR’S MOTION
                          TO IMPOSE STAY, WITH CONDITIONS

        This case was scheduled for a hearing to be held on March 26, 2020, on the motion by the
Debtor to impose the stay (Docket # 9). The Court has reviewed the motion and related papers,
and other parts of the record in this case, including the Debtor’s proposed plan and the Debtor’s
schedules. The Court notes that the Chapter 13 Trustee does not object to the motion, and has
not requested any conditions. No creditor has filed an objection. Subject to the right of any
creditor to object after the entry of this Order, stated below, the Court finds that a hearing on the
motion is not necessary; that a hearing should not occur due to the temporary closing of this
Court’s facilities in Detroit that became effective on March 25, 2020, due to problems related to
the ongoing Coronavirus pandemic; that the statutory presumption of a bad faith filing in this
case is rebutted by clear and convincing evidence; and that the Debtor filed the current case in
good faith as to all creditors.

         Accordingly,

         IT IS ORDERED that: (1) the motion is granted; and (2) the stay under 11 U.S.C.
§ 362(a) is imposed as to all creditors under 11 U.S.C. § 362(c)(4), and will continue in effect as
to all creditors, unless and until otherwise ordered, or until and to the extent the stay is modified,
conditioned, or terminated under a provision of the Bankruptcy Code other than 11 U.S.C.
§ 362(c)(4).

         IT IS FURTHER ORDERED that the following conditions are imposed under 11 U.S.C.
§ 362(c)(4)(B): Debtor counsel must immediately serve a copy of this Order on all creditors, and
then promptly file a proof of such service. The imposition of the automatic stay as provided in
this Order is not effective until such proof of service is filed. Because no hearing was held on
March 26, 2020, any creditor may file and serve, within 21 days after service of this Order, an
objection to the motion to extend the stay and/or to this Order. If such an objection is timely
filed, the Court will schedule a hearing and determine whether to vacate or modify this Order
based on the merits of the objection(s).




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Signed on March 26, 2020




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